                                           UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF NORTH CAROLINA
                                               CHARLOTTE DIVISION
                                          DOCKET NO. 3:18-cr-00193-MOC-DCK-1

                UNITED STATES OF AMERICA,                       )
                                                                )
                                                                )
                                                                )
                vs.                                             )                    ORDER
                                                                )
                DONNY SALAZ FLORES,                             )
                                                                )
                                   Defendant.                   )



                       THIS MATTER is before the court on defendant’s Motion for Termination of Supervised

               Release. (Doc. No. 28). The government opposes the motion. (Doc. No. 30). Defendant argues that

               because he is a deportable alien, he should not have a term of supervised release. However, if the

               Defendant does not seek to enter the United States of America illegally during that term of

               supervised release, supervision will have no impact on him. Defendant further argues removal is

               a sufficient remedy, but it is not, especially when dealing with illegal reentry by an aggravated

               felon such as Defendant. Importantly, the term of supervised release is an effective deterrent to

               keep Defendant from reoffending with another illegal immigration crime.

                           Having considered Defendant’s motion and the government’s opposition in response, the

               court enters the following Order.

                                                           ORDER

                       IT IS, THEREFORE, ORDERED that defendant’s Motion for Termination of

               Supervised Release (Doc. No. 28) is DENIED

Signed: October 19, 2020




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